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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION



   IMPLICIT, LLC,                         Civil Action No. 2:19-cv-40-JRG-RSP
               Plaintiff,                             LEAD CASE
        v.

   IMPERVA, INC.,
              Defendant.

   IMPLICIT, LLC,                         Civil Action No. 2:19-cv-37-JRG-RSP
               Plaintiff,
        v.

   JUNIPER NETWORKS, INC.,
              Defendant.



             DEFENDANT JUNIPER NETWORKS, INC.’S REPLY IN SUPPORT OF
             MOTION TO STAY PENDING DECISION ON TRANSFER MOTIONS




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             The Federal Circuit has stated that “a trial court must first address whether it is a proper

  and convenient venue before addressing any substantive portion of the case.” See In re Nintendo

  Co., 544 F. App’x 934, 941 (Fed. Cir. 2013) (emphasis added). In this case, Juniper promptly filed

  its supplemental motion to transfer shortly after the Intel license was made available during

  discovery. Dkt. 164. That motion has now been fully briefed. Dkt. 175, 178, 182. Moreover,

  there are at least two other transfer motions in this consolidated case that have been fully briefed

  but not yet decided on their merits, and a fourth transfer motion was recently filed. See Dkt. 18,

  70, 130, 166, 174, 185. To date, this Court has not yet engaged any substantive aspect of this case.

  However, claim construction briefing is about to begin in preparation for a Markman hearing

  scheduled for March 17, 2020. See Dkt. 152 (Docket Control Order).

             Given these undisputed facts, the Court should grant a brief stay to allow sufficient time to

  “first address whether it is a proper and convenient venue before addressing any substantive

  portion of the case,” consistent with Federal Circuit law. See Nintendo, 544 F. App’x at 941; see

  also In re Fusion-IO, Inc., 489 F. App’x 465, 466 (Fed. Cir. 2012) (“fully expect[ed]” that

  defendant moving to transfer would file “a motion to stay proceedings pending disposition of the

  transfer motion” and the district court “to act on those motions before proceeding to any motion

  on the merits of the action”) (citing In re Horseshoe Entm’t, 337 F.3d 429, 433 (5th Cir. 2003) for

  proposition that disposition of transfer motion “should have taken a top priority in the handling of

  this case”); In re Google Inc., 2015 WL 5294800 (Fed. Cir. July 16, 2015) (granting mandamus

  and directing district court to rule on defendant’s motion to transfer within 30 days and to stay all

  proceedings pending completion of transfer matter after more than seven months had elapsed since

  venue transfer motion was fully briefed); In re EMC Corp., 501 F. App’x 973, 975 (Fed. Cir. 2013)

  (discussing “importance of addressing motions to transfer at the outset of litigation”).




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             Implicit all but ignores this extensive Federal Circuit case law that was cited in Juniper’s

  moving papers. See Dkt. 174 at 3-4. The sole response raised by Implicit (on the last page of its

  opposition brief) is based on the allegedly “advanced posture” of this case, relying on the District

  of Delaware’s decision in Pragmatus AV, LLC v. Yahoo! Inc., 2013 WL 2372206 (D. Del. May

  30, 2013) (cited at Dkt. 179 at 6). However, Pragmatus is readily distinguishable from this case.

  There, the Court had already completed a full Markman hearing following briefing on claim

  construction, and had “expended significant resources” on other motions, objections to

  recommendations, and “numerous discovery disputes.” Id. at *2. None of this has happened in

  this case. Accordingly, Juniper’s stay request has been timely presented well before this Court has

  had to expend resources on any substantive portion of the case, thus “promoting efficient use of

  judicial resources.” See id.

             Moreover, none of Implicit’s arguments regarding the stay factors presents any basis for

  ignoring the Federal Circuit’s direction to resolve disputes regarding venue before turning to

  merits issues. First, Implicit argues that a stay might result in duplication of work in view of

  Implicit’s co-pending cases against Fortinet and Imperva. However, the easiest way to address

  that issue is to order a brief stay for the entire consolidated action pending resolution of the open

  transfer issues. Indeed, Fortinet also has transfer motions that remain pending. See Dkt. 70, 185.

  And both Fortinet and Imperva have indicated that they do not oppose a stay of the consolidated

  proceedings.

             Second, Implicit argues that a delay will prejudice its “right to the timely enforcement of

  its patent[s].” Opp. at 4. But Implicit concedes that it is not a competitor to Juniper and that it is

  seeking only damages here (given the patents’ undisputed expiration before trial). In any event, it

  makes little sense to rush into Markman briefing and a hearing for this case given that Implicit




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  recently stated that it is contemplating appeal of this Court’s Markman decision on the very claim

  terms at issue here. See Civ. No. 2:18-cv-00054-JRG, Dkt. 17 (stipulation of non-infringement in

  Implicit v. Sandvine). Thus, a brief stay to resolve venue issues will not prejudice Implicit.

             Finally, Implicit complains that Juniper “could have sought a stay much sooner.” Opp. at

  5. Yet Juniper’s supplemental motion to transfer is premised on a license agreement that was not

  even made available to Juniper until October 2019. See Dkt. 164 at 1. Juniper promptly conducted

  an analysis of this license, met and conferred with Implicit, gathered the necessary supporting

  evidence, and prepared and filed its motion on December 9, 2019. This reflects ample diligence

  on the part of Juniper, and it remains the case that the Court has yet to expend any resources on

  any substantive aspects of this action to date. To the extent Implicit is suggesting that transfer

  motions must generally be accompanied by an immediate motion to stay lest the movant forfeit

  the right to seek one later, that is not (and should not be) the law. See also Nintendo, 544 Fed.

  App’x at 940-43 (granting mandamus where district court should have addressed transfer issues at

  the outset of case; first motion to sever and transfer was not “mooted” by second motion).

             Accordingly, Juniper respectfully submits that the Court should stay this matter pending a

  ruling on the pending motions to transfer venue pursuant to 28 U.S.C. § 1404(a).



  Date: January 10, 2020                          Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          The undersigned certifies that the foregoing document was filed electronically in
  compliance with Local Rule CV-5(a). As such, this document was served on all counsel who are
  deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to Fed. R.
  Civ. P. 5(d) and Local Rule CV-5(d) and (e), all other counsel of record not deemed to have
  consented to electronic service were served with a true and correct copy of the foregoing by email
  and/or fax, on this the 10th day of January, 2020.

                                                      /s/ Melissa R. Smith
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